                                                               Wilk Auslander LLP          T  212-981-2300
                                                               1515 Broadway               F  212-752-6380
                                                               New York, NY 10036          wilkauslander.com


                                                               Scott J. Watnik                    06/07/2021
                                                               Partner
                                                               (646) 375-7658
                                                               swatnik@wilkauslander.com


                                                                       June 4, 2021
VIA ECF

Honorable Andrew L. Carter
United States District Court
Southern District of New York
40 Foley Square, Room 435
New York, New York 10007

               Re: Marjorie Kohlberg et al. v. Tom Birdsey et al., 20 Civ. 6250 (ALC);
                   Defendant Tom Birdsey’s opposition to Plaintiffs’ request for second
                   extension of time

Dear Judge Carter:

         We represent defendant Tom Birdsey (“Birdsey”) in the above-referenced matter. This
letter responds to Plaintiffs’ second request for an extension of time to file Plaintiffs’ opposition
to Defendants’ motions to dismiss the Third Amended Complaint (the “Opposition Brief”).

        Birdsey consents to extending: (1) Plaintiffs’ deadline to file their Opposition Brief from
June 4, 2021 to June 10, 2021, and (2) the remaining Defendants’ deadline to file reply
memoranda of law on their respective motions to dismiss by an equal number of days, i.e., from
July 9, 2021 to July 15, 2021. This afternoon, I conferred with Barry Pollack Esq., (counsel for
all Plaintiffs apart from Plaintiff Sears); Mr. Pollack informed me that he and Anne Bowling,
Esq. (counsel for Plaintiff Sears) agree to these terms.

        With the filing of this letter, all remaining Defendants have now filed a response to
Plaintiffs’ second request for an extension of time.


                                                               Respectfully submitted,

                                                               /s/ Scott Watnik
                                                               Scott Watnik

cc: All Counsel of Record (via ECF)




                                                          Dated: June 7, 2021

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